 

%AO 2455 (Re‘v. 06/05) Judgment in a Ci'iminal Casc EASTERSN Bl¢§;§l' §-
Sheet l

 

  

UNITED STATES DisTRiCT COLL.§US

 

 

 

 

 

 

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UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE (/ `
V.
GARY F. INGLE
Case Nu.mber: 4207CR00026-00] SWW
USM Number: 23265-009
JACK LASSITER
Defenda.nt’$ Attomey
THE DEFEN])ANT:
X pleaded guilty to count(s) l of the lndictrnent
|:l pleaded nolo contendere to count(s)
which was accepted by the court.
|:l was found guilty on count(s)
alter a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Ol'fense Offense Ended Count
18 U.S.C. §922(g)(l) Possession of Firai'm by Convicted Person,
a Class C Felony 10/4/06 l
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

|:l The defendant has been found not guilty on count(s)

 

Count(s) n/a is are dismissed on the motion of the United States.

_ _ lt is ordered t_hat the defendant_must notify the United States attorney for this district within 30 da s of any change of name, residence,
or maihn address until_ all fines, restitution, costs, and special assessments imposed l_)y this judgment are fu ly paid. If ordered to pay restitution,
the defen ant must notify the court and United States attorney of material changes in economic circumstances

JUNEQ.§GG?
Dale oflmposition of .ludgment

    

 

SUSAN WEBBER W.RIGHT United States Dist'n'ct Judge
Name and Title of Judge

 

JUNE 18. 2007
Date

Case 4:07-cr-00026-SWW Document 13 Filed 06/18/07 Page 2 of 6

AO 245B (Rev. 061'05) Judgment in Ci'iminal Case
Sheet 2 _ lmprisonment

Judgment _ Page 2 of 6

 

DEFENDANT: GARY F. INGLE
CASE NUMBER: 4:07CRUU()26-()Ol SWW

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total tenn of:

TWO MONTI-IS, consecutive to the term of imprisonment defendant now is serving in the Bureau of Prisons in Case
Number 4:04CR00068-001 JMM.

The court makes the following recommendations to the Bureau of Prisons:

XThe defendant is remanded to the custody of the United States Marshal.

I:lThe defendant shall surrender to the United States Marshal for this district:

l:l at |:| a.m. l:l p.m. on

 

l:l as notified by the United States Marsha|.

l:lThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

l:l before 2 p.m. on

 

l:l as notified by the United States Marsha|.

l:l as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment
UNlTED STATES MARSHA]_.
By

 

DEPUTY UNITED STATES MARSHAL

Case 4:07-cr-00026-SWW Document 13 Filed 06/18/07 Page 3 of 6

AO 2458 (Rev. 06/05) Judgment in a Criminal Casc
Sheet 3 _ Supervised Release

 

Judgment_Page 3 of §
DEFENDANT: GARY F. INGLE

CASE NUMBER: 4:07CR00026-001 SWW
SUPERVISED RELEASE

Upon release ii'om imprisonment, the defendant shall be on supervised release for a term of :

THIRTY (30) MONTHS

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance The defendant shal_l refrain from any unlawful use of_a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

X The above dmg testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
\:l The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

|:| The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

|:| The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

lf this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule o Payments sheet of this_]udgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANI)ARI) CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the lcliefenc‘ihant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
eac mori ;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defenth shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain ii'om excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the pro ation officer;

IO) the defendant shall permit a_ probation officer to _visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

l `l) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement of'ficer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or ersona_ history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant s compliance with such notification requirement

Case 4:07-cr-00026-SWW Document 13 Filed 06/18/07 Page 4 of 6

 

AO 245B tRev. 06/05) Judgment in a Criminal Casc
Sheet 3A j Supervised Release
Judgment_Page L of _L
DEFEN DANT: GARY F. INGLE

CASE NUMBER: 4:07CR00026-001 SWW

ADDITIONAL SUPERVISED RELEASE TERMS

SPECIAL CONDITION: Defendant shall perform 100 hours of community service under the guidance and
supervision of the U. S. Probation Ofiice which must be performed during the first year of supervised release.

Defendant is not to be involved in any type of hunting or have in his possession any weapons, firearms or
ammunition Defendant also is not to be around those who are hunting.

Case 4:07-cr-00026-SWW Document 13 Filed 06/18/07 Page 5 of 6
AO 245|3 (Rev. 061'05} .ludgment in a Criminal Case

Sheet 5 -» Criminal Monetaiy Penalties

 

Judgmeni _ Page § of §
DEFENDANT: GARY F. lNGLE

CAsENUMBER: 4:07CR00026-001 Sww
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
T()TALS $ 100.00 $ None $ None
l:l The determination of restitution is deferred until . An Arnended Judgmem in a Cri`mi`nal Case (AO 245€) will be entered

after such determination
l:| The defendant must make restitution (inciudin g community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximatel{}pro ortioned ayment, unless specified otherwise in
the priority order or percentage payment column elow. However, pursuant to 18 .S. . § 3664 i), all nonfederal victims must be paid
before the United States is paid.

Name ol' Payee Total Loss"r Restitution Ordered Priority or Percentage
ToTALs $ 0 $ _9

l:| Restitution amount ordered pursuant to plea agreement $

|:l The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in ii.ill before the
fifteenth day alter the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

|:| The court determined that the defendant does not have the ability to pay interest and it is ordered that:
l:l the interest requirement is waived for the |:| fine |:| restitution.

l:| the interest requirement for the |:I fine l:| restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, llOA, and l 13A of Title 18 for offenses committed on or after
September 13, 1994, but before Apri123, 1996.

AOMSB (Rev_06,05)§§g§,ent¢ll;lqg;g]qr-.QQ£Q§6-SWW Document 13 Filed 06/18/07 Page 6 of 6
Sheet 6 _ Schedulc of Payments

 

Judgmcnt _ Page 6 of 6
DEFENDANT: GARY F. INGLE
CASE NUMBER: 4:07CR00026-001 SWW

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:
A X Lump sum payment of $ 100.00 due immediate]y, balance due

|:| not laterthan ,or
|:| iri accordance |:| C, |:| D, |:| E, or |:| Fbelow; or

B |:| Payment to begin immediately (may be combined with |:| C, |:| D, or |:| F below); or

C |:l Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D |:| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E |'_'| Payment during the term of supervised release will commence within (e.g., 30 or 60 days) alter release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F |'_`| Special instructions regarding the payment of criminal monetary penalties:

llnless the court has expressl ordered otherwise, if thisjudgment imposes imprisonment, ayment of criminal monetary penalties is due durii_i
imprisonment All crimina moneta penalties, except those payments made through the Federal Bureau of Prisons’ lnmate Financia
Responsibility Program, are made tot e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

l:| Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

l:l The defendant shall pay the cost of prosecution

|:l

The defendant shall pay the following court cost(s):

l:l The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (IB assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.

